                      Case 21-30589-MBK Doc 3951-4 Filed 05/04/23 Entered 05/04/23 14:40:14                                                       Desc
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      Date   Timekeeper                                                            Narrative                                                       Hours Billed     Amount Billed
                          Analyze bankruptcy petition and associated initial filings; exchange email correspondence with client group re same
10/14/2021      RJP       and next steps, including impending complaints                                                                                     1.70         $2,031.50
10/14/2021      MLT       Analyze first‐day declaration and prepare notes re same; analyze correspondence re scope of stay                                   1.40         $2,212.00
10/15/2021      RJP       Telephone conference with L. Davis Jones re case commencement and first day hearing                                                0.20           $239.00
10/15/2021      MLT       Analyze first‐day pleadings and order scheduling first‐day hearing                                                                 2.60         $4,108.00
10/18/2021      RJP       Analyze emergency motion to stay talc litigation and outline response to same                                                      1.50         $1,792.50
10/18/2021      RJP       Telephone conference with L. Davis Jones re first day hearing and stay motion                                                      0.40          $478.00
10/18/2021      SMK       Analyze case filings to date, including first‐day motions and motion to enforce automatic stay                                     2.60         $2,795.00
10/18/2021      NM        Draft objection to motion to enforce                                                                                               2.50         $1,700.00
10/18/2021      NM        Review motion to enforce automatic stay; research and correspondence re the same                                                   2.20         $1,496.00
10/19/2021      RJP       Revise, finalize, and file opposition to Debtor's emergency motion to stay talc litigation                                         1.80         $2,151.00
10/19/2021      SMK       Analyze pleadings re objections to first day motions and motion re automatic stay                                                  0.60          $645.00
                          Draft preliminary objection to motion to enforce automatic stay, including further analysis of motion and research re
10/19/2021      SMK       same                                                                                                                               6.10         $6,557.50
                          Exchange e‐mail correspondence re committee formation and opposition to stay motion; analyze oppositions to stay
10/19/2021      MLT       motion; work on objection to stay motion                                                                                           1.20         $1,896.00
10/19/2021      NM        Draft objection to motion to enforce; correspondence re the same                                                                   5.80         $3,944.00
10/19/2021      NM        Review MDL Plaintiffs' Committee limited objection to first day motions                                                            0.30          $204.00
10/20/2021      RJP       Appear and argue at first day hearing, including final preparations and follow‐up re same                                          7.90         $9,440.50
10/20/2021      SMK       Preliminary research re TRO/PI opposition brief                                                                                    0.70          $752.50
10/20/2021      SMK       Research re venue transfer to 3d Circuit                                                                                           0.40          $430.00
10/20/2021      NM        Analyze funding agreement                                                                                                          0.40          $272.00
10/20/2021      NM        Prepare objection to TRO and conduct preliminary research                                                                          1.80         $1,224.00
10/21/2021      RJP       Video conference with D. Bussel and D. Stern re strategy                                                                           1.00         $1,195.00
10/21/2021      SMK       Research in advance of October 22 hearing re 362 and AH Robins‐related case law                                                    2.30         $2,472.50
10/21/2021      SMK       Analyze debtor's new complaint and TRO motion                                                                                      0.90          $967.50
10/21/2021      NM        Research re automatic stay and injunction issues                                                                                   3.80         $2,584.00
10/21/2021      NM        Analyze motion to for preliminary injunction                                                                                       1.30          $884.00
10/21/2021      NM        Analyze excerpts of first day hearing in preparation for TRO hearing                                                               2.60         $1,768.00

10/22/2021      RJP       Appear and argue at hearing on motion to stay talc litigation, including final preparation and follow‐up re same                   3.30         $3,943.50
10/22/2021      NM        Research re automatic stay issues                                                                                                  2.90         $1,972.00
10/24/2021      RJP       Exchange email correspondence with Debtor's counsel and other objectors re meet‐and‐confer                                         0.10           $119.50
                          Analyze competing proposed orders on TRO motion, draft discovery schedule for PI hearing, and Debtor's document
10/25/2021      RJP       production re same                                                                                                                 0.60           $717.00

10/25/2021      RJP       Analyze Bankruptcy Administrator's motion to transfer venue; confer and correspond with working group re same                      0.40           $478.00
10/25/2021      RJP       Meet‐and‐confer videoconference with Debtor re discovery                                                                           0.40           $478.00



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       Date   Timekeeper                                                       Narrative                                                       Hours Billed      Amount Billed
10/25/2021       SMK       Analyze steering committee and debtor emails re proposed discovery schedule and order on TRO motion                            0.30           $322.50

10/25/2021       MLT       Analyze motion of Bankruptcy Administrator to transfer venue; analyze Declaration of Shelley Abel in support                  0.60            $948.00
10/25/2021       NM        Review motion to transfer                                                                                                     0.50            $340.00
10/25/2021       NM        Appear at telephonic status conference                                                                                        1.00            $680.00
10/26/2021       RJP       Analyze Court's order to show cause re venue and entered order denying TRO; follow‐up re same                                 0.50            $597.50
                           Analyze draft and final discovery requests to Debtor; exchange email correspondence re same and re proposed case
10/26/2021       RJP       management order for November 4‐5 hearing                                                                                     0.50            $597.50
10/26/2021       SMK       Analyze entered order re TRO and redline vs. parties' submissions                                                             0.10            $107.50
10/26/2021       SMK       Analyze extensive email exchanges re proposed discovery order and scheduling                                                  0.30            $322.50
10/26/2021       SMK       Analyze steering committee and Waldrep discovery requests                                                                     0.20            $215.00
10/26/2021       SMK       Analyze steering committee's draft discovery requests and exchange emails with N. Maoz, R. Pfister re same                    0.20            $215.00
10/26/2021       MLT       Analyze order denying TRO as to J&J                                                                                           0.10            $158.00
10/26/2021       NM        Analyze TRO denial as to J&J; exchange email correspondence re entered form of order                                          0.40            $272.00
10/26/2021       NM        Research re automatic stay issues                                                                                             1.00            $680.00
10/26/2021       NM        Review order to show cause re venue                                                                                           0.20            $136.00
10/26/2021       NM        Review discovery requests; correspondence re the same                                                                         0.50            $340.00
10/27/2021       RJP       Meet‐and‐confer with Debtor's counsel re discovery and procedures for November 4 and 5 hearing                                0.60            $717.00
10/27/2021       RJP       Meet with S. Kidder and N. Maoz re opposition to preliminary injunction motion                                                0.70            $836.50
                           Analyze Debtor's witness disclosure for November 4‐5 hearing; exchange email correspondence re discovery,
10/27/2021       RJP       document production, and hearing preparation                                                                                  1.00          $1,195.00
10/27/2021       SMK       Analyze extensive email exchange among Debtor and steering committee re discovery issues                                      0.30           $322.50
10/27/2021       SMK       Analyze Debtor's document production, including plan of divisional merger                                                     0.50            $537.50

10/27/2021       SMK       Research re opposition to PI motion, including potential arguments to distinguish prior Texas Two‐Step decisions              2.80          $3,010.00
10/27/2021       SMK       Meet and confer with Debtor's counsel and steering committee counsel re discovery issues                                      0.60           $645.00
10/27/2021       SMK       Meet with R. Pfister and N. Maoz re strategy and research re opposition to PI motion                                          0.70           $752.50
10/27/2021       NM        Analyze Debtor's document production                                                                                          1.00           $680.00
10/27/2021       NM        Meet with R. Pfister and S. Kidder re objection to preliminary injunction motion                                              0.70           $476.00
10/27/2021       NM        Draft objection to preliminary injunction motion                                                                             10.30          $7,004.00
                           Exchange email correspondence with Debtor's counsel and objecting parties re discovery and scheduling for
10/28/2021       RJP       November 4‐5 hearing; follow‐up re same and re draft opposition brief                                                         0.70           $836.50
10/28/2021       SMK       Research re opposition to PI motion                                                                                           0.90           $967.50
10/28/2021       SMK       Draft opposition to PI motion                                                                                                 5.30          $5,697.50
10/28/2021       SMK       Analyze debtor's responses and objections to written discovery                                                                0.60           $645.00
10/28/2021       SMK       Meet and confer call with debtor and steering committee re discovery                                                          0.70           $752.50
10/28/2021       NM        Draft objection to preliminary injunction motion                                                                              5.00          $3,400.00
10/28/2021       NM        Analyze Debtor's discovery responses                                                                                          0.40           $272.00



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       Date   Timekeeper                                                          Narrative                                                       Hours Billed      Amount Billed
10/29/2021       SMK       Analyze Jones Day letter re privilege assertions                                                                                  0.10           $107.50
                           Extensive email correspondence with Debtor and PSC re confidentiality agreement, deposition scheduling, and hearing
10/29/2021       SMK       logistics                                                                                                                        0.30            $322.50
10/29/2021       SMK       Analyze expert report of C. Mullin in connection with PI motion                                                                  0.60            $645.00
10/29/2021       SMK       Analyze PSC motion to transfer venue                                                                                             0.40            $430.00

10/29/2021       RJP       Analyze MDL Steering Committee's venue transfer motion; exchange email correspondence with P. Baynard re same                    0.60            $717.00
                           Analyze Motion of MDL plaintiffs' steering committee to transfer venue; analyze limited objection to committee
10/29/2021       MLT       appointment; prepare notes re same                                                                                               1.10          $1,738.00
10/29/2021       NM        Review motion to transfer                                                                                                        0.60           $408.00
10/30/2021       SMK       Analyze N. Maoz summaries of October 30 depositions                                                                              0.30           $322.50
10/30/2021       NM        Appear at deposition of A. Lisman                                                                                                5.10          $3,468.00
10/30/2021       NM        Appear at deposition of E. Kuffner                                                                                               3.70          $2,516.00
10/31/2021       SMK       Appear at deposition of S. Schirger‐Ward                                                                                         3.20          $3,440.00
10/31/2021       NM        Appear at deposition of J. Kim                                                                                                   7.00          $4,760.00
11/01/2021       RJP       Revise, finalize, and file opposition to PI motion                                                                               3.50          $4,182.50
11/01/2021       SMK       Emails with Debtor's counsel re supplemental document production                                                                 0.20           $215.00
11/01/2021       SMK       Analyze filed oppositions to PI motion, including PSC and Waldrep oppositions                                                    1.10          $1,182.50
11/01/2021       SMK       Further revisions to and finalization of brief re opposition to PI motion                                                        2.50          $2,687.50
                           Analyze oppositions to debtor's request for preliminary injunction and Bankruptcy Administrator's motion to appoint
11/01/2021       MLT       committee; exchange e‐mail correspondence re same                                                                                2.20          $3,476.00
11/01/2021       NM        Review objections and oppositions to PI motion                                                                                   0.60           $408.00
11/01/2021       NM        Review and revise opposition to PI motion                                                                                        1.20           $816.00
11/01/2021       NM        Appear at deposition of C. Mullin                                                                                                4.30          $2,924.00
11/02/2021       SMK       Research re response to venue motion                                                                                             1.20          $1,290.00
11/02/2021       SMK       Analyze responses to venue motion                                                                                                0.30           $322.50
11/03/2021       SMK       Analyze Arnold Itkin motion to transfer venue to Delaware                                                                        0.50           $537.50
11/03/2021       SMK       Analyze debtor's reply brief re PI motion                                                                                        1.10          $1,182.50
11/03/2021       SMK       Analyze debtor's exhibit list for PI hearing and review exhibits themselves                                                      0.30           $322.50

11/03/2021       SMK       Analyze extensive emails and letter from debtor's counsel re privilege and other document production issues                      0.60            $645.00

11/03/2021       MLT       Analyze pleadings re enforcement of stay and preliminary injunction, committee formation and venue transfer                      2.10          $3,318.00
11/03/2021       NM        Review venue transfer motion                                                                                                     0.40           $272.00
11/03/2021       NM        Review debtor's reply brief in support of PI motion                                                                              0.60           $408.00
11/03/2021       NM        Meet and confer re open discovery issues                                                                                         0.30           $204.00
11/04/2021       RJP       Appear at hearing on Committee formation and preliminary injunction hearing (first day)                                          8.20          $9,799.00
11/04/2021       NM        Review debtor's document production                                                                                              0.30           $204.00



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       Date   Timekeeper                                                          Narrative                                       Hours Billed      Amount Billed
11/05/2021       RJP       Appear at preliminary injunction hearing (second day)                                                             7.00        $8,365.00
11/05/2021       SMK       Analyze responses to venue transfer motion                                                                        0.60           $645.00
11/05/2021       SMK       Draft response to OSC re venue, including legal research re same                                                  4.70        $5,052.50
11/05/2021       MLT       Analyze pleadings re venue; analyze report on hearing                                                             1.30        $2,054.00
11/05/2021       NM        Review Debtor's objection to venue transfer                                                                       0.40           $272.00
11/05/2021       NM        Draft brief re venue transfer; correspondence re the same                                                         3.80        $2,584.00
11/08/2021       SMK       Analyze committee's statement re venue                                                                            0.10           $107.50
11/09/2021       SMK       Exchange email correspondence with debtor's counsel re clawback of unredacted versions of documents               0.10           $107.50
11/10/2021       RJP       Appear at venue transfer hearing and preliminary injunction ruling announcement                                   4.80        $5,736.00
11/11/2021       RJP       Analyze Debtor's proposed preliminary injunction order; follow‐up re same                                         0.20           $239.00
11/16/2021       RJP       Analyze opinion and order transferring case to New Jersey                                                         0.40           $478.00
Total:                                                                                                                                    178.80       $175,537.50




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